         4:90-cr-00030-WKU            Doc # 153   Filed: 05/03/05   Page 1 of 1 - Page ID # 237


                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )                   4:90CR30
                                                   )
                         Plaintiff,                )
                                                   )                    ORDER
       vs.                                         )
                                                   )
EVERETT L. O’NEAL,                                 )
                                                   )
                        Defendant.                 )

       On October 25, 2004, the defendant appeared in person with his attorney, Michael J. Hansen,
Federal Public Defender. The United States was represented by David Stempson, Assistant United
States Attorney. A revocation hearing was scheduled before Judge Urbom on November 19, 2004.

       On November 19, 2004, the defendant appeared in person with his attorney, Michael J. Hansen,
Federal Public Defender. The United States was represented by Alan Everett, Assistant United States
Attorney. Upon defendant’s motions to continue the disposition hearing (filings 147, 148, and 150), the
disposition hearing was scheduled for May 3, 2005.

     On May 3, 2005, the disposition hearing was held. The United States was represented by Dave
Stempson, Assistant United States Attorney. The defendant was present and represented by Michael
J. Hansen. Defendant admitted all allegations set forth in the Petition for Warrant or Summons for
Offender Under Supervision (filing 141). Upon accepting the defendant’s admission of the allegations
that he violated Standard Condition No. 1, Standard Condition No. 11, and Special Condition No. 5, the
Court found that the defendant did violate the terms and conditions of the supervised release as alleged
in the Petition for Warrant or Summons for Offender Under Supervision (filing 141).

        Defendant’s term of supervised release would have ended on January 7, 2005, had the Petition
not been filed. Defendant will be sentenced in Douglas County District Court for the offenses outlined
in allegations 1 and 2 of the Petition. The Court accepts the parties’ agreement to terminate defendant’s
supervised release.

       IT IS ORDERED to end defendant’s supervised release and no further action needs to be taken
as to defendant’s violations of conditions of supervised release.

       DATED: May 3, 2005.

                                                   BY THE COURT

                                                   s/ Warren K. Urbom
                                                   United States Senior District Judge
